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           IN THE UNITED STATES DISTRICT COURT FOR THE
                  NORTHERN DISTRICT OF GEORGIA
                         ATLANTA DIVISION


UNITED STATES OF AMERICA,                *
                                         *
                                         *
                                         *
      v.                                 * CRIMINAL ACTION NO.
                                         * 1:17-CR-292-ELR-AJB
ARTURO GONZALEZ-RENTERIA,                *
                                         *
  Defendant.                             *

                                   _________

                                   ORDER
                                   _________

      This matter is before the Court for consideration of Magistrate Judge Alan J.

Baverman’s Report and Recommendation (“R&R”) [Doc. 357]. Importantly, Judge

Baverman recommends that Defendant’s Motion to Dismiss for Violation of

Defendant’s Statutory Right to Speedy Trial [Doc. 343] be granted and that

this matter be dismissed without prejudice. In the time period allotted for

the parties to object to the R&R, D e f e n d a n t by and through counsel, filed an

objection, in which he agrees that the case should be dismissed, but argues

that it should be dismissed with prejudice. [Doc. 362]. The Court’s ruling

is set forth below.
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      I.     Standard of Review

      The district court reviewing an R&R “shall make a de novo determination of

those portions of the report or specified proposed findings or recommendations to

which objection is made.” 28 U.S.C. § 636(b)(1). If neither party objects, the district

judge need only review the R&R for clear error and “may accept, reject, or modify,

in whole or in part, the findings or recommendations made by the magistrate judge.”

Id. A party objecting to an R&R “must specifically identify those findings objected

to. Frivolous, conclusive, or general objections need not be considered by the district

court.” United States v. Schultz, 565 F.3d 1353, 1361 (11th Cir. 2009) (quoting

Marsden v. Moore, 847 F.2d 1536, 1548 (11th Cir. 1988)) (internal quotation marks

omitted.). If there are no specific objections made to factual findings made by the

magistrate judge, there is no requirement that those findings be reviewed de novo.

Garvey v. Vaughn, 993 F.2d 776, 779 n. 9 (11th Cir. 1993). Absent objection, the

district court judge “may accept, reject, or modify, in whole or in part, the findings or

recommendations made by the magistrate [judge],” 28 U.S.C. § 636(b)(1)(C), and

may accept the recommendation if it is not clearly erroneous or contrary to the law.

Fed. R. Crim. P. 59. In accordance with 28 U.S.C. § 636(b)(1)(C), and Rule 59 of the

Federal Rules of Criminal Procedure, the Court has conducted a de novo review of

those portions of the R&R to which Defendants object and has reviewed the remainder




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of the R&R for plain error. See United States v. Slay, 714 F.2d 1093, 1095 (11th Cir.

1983).

      II.    Discussion

      The only issue here is whether the case should be dismissed with or without

prejudice. In his objection, Defendant challenges Judge Baverman’s analysis of the

three factors of consideration for a determination pursuant to §3162(a): 1) the

seriousness of the offense; 2) the facts and circumstances of the case which led to

the dismissal; and 3) the impact of a re-prosecution on the administration of justice.

18 U.S.C. §3162(a)(2). However, after conducting a de novo review of those

portions of the R&R to which Defendant objects and reviewing the remainder of the

R&R for plain error, this Court finds that the Magistrate Judge’s factual and legal

conclusions are correct. Thus, the Court adopts the R&R as the opinion of this Court.

      III.   Conclusion

      The Court OVERRULES Defendant’s objection [Doc 362] and ADOPTS

the R&R [Doc. 357] as the Opinion and Order of this Court. Defendant’s Motion

to Dismiss for Violation of Defendant’s Statutory Right to Speedy Trial

[Doc. 343] is GRANTED and Defendant’s case is DISMISSED without




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prejudice.

     SO ORDERED, this13th day of May, 2022.


                                  _________________________
                                  Eleanor L. Ross
                                  United States District Judge
                                  Northern District of Georgia




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